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F#2004R02139 Ge)

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA COMPLAINT AND AFFIDAVIT
IN SUPPORT OF APPLICATION
-against- FOR ARREST WARRANT
ROBERT VILLANUEVA and (T. 18 U.S.C. § 371)
EPIFANIO VILLANUEVA,
Defendants.
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EASTERN DISTRICT OF NEW YORK, SS:

MARCUS WILSON, being duly sworn, deposes and says that
he is a Special Agent with the Federal Bureau of Investigation
(“FBI”), duly appointed according to law and acting as such.

Upon information and belief, on or about and between
January 1, 2001 and June 18, 2004, both dates being approximate
and inclusive, within the Eastern District of New York and
elsewhere, the defendants ROBERT VILLANUEVA and EPIFANIO
VILLANUEVA, together with others, did knowingly and intentionally
conspire to devise a scheme and artifice to defraud Starrett City
Incorporated ("Starrett City") and Grenadier Realty Corporation
("Grenadier") and to obtain money and property from Starrett City
and Grenadier by means of materially false and fraudulent
pretenses, representations, and promises and for the purpose of
executing and attempting to execute such scheme and artifice, to

cause certain mail matter, to wit: payment checks, to be
delivered from Brooklyn, New York to Chicago, Illinois by a
commercial interstate carrier, to wit: Federal Express
Corporation, in violation of Title 18, United States Code,
Section 1341.

(Title 18 United States Code, Section 371)

The source of your deponent's information and the
grounds for his belief are as follows!:

1. I have been a Special Agent with the FBI for
approximately 3 years. My information comes from reviewing
documents, including bank records and reports from witness
interviews, and debriefings of confidential sources and
cooperating witnesses who have pled guilty to federal criminal
charges.

Background

2. In or about spring of 2004, an individual
associated with Starrett City, a residential housing complex in
Brooklyn, New York, noticed a high volume of insurance claims
filed against Starrett City. An internal investigation was
undertaken by Grenadier, the management company for Starrett
City. During the course of the investigation, Grenadier
discovered that one of its employees in the claims department had

processed an unusually high volume of insurance claim vouchers.

+/ Because the purpose of this affidavit is merely to set forth
probable cause to arrest, I have not indicated all of the facts
and circumstances of which I am aware.
3. In June 2004, an attorney for Grenadier and an
attorney for Starrett City questioned this employee, who later
became a cooperating witness ("CW1"). During this interview, CW1
admitted to having submitted numerous falsified insurance claim
vouchers and using the payments issued by Starrett City for those
falsified vouchers for his/her own personal use. In addition,
CW1 confessed that he/she did not perpetrate this scheme alone.
In subsequent interviews, CWl admitted that certain other
' individuals, including the defendants ROBERT VILLANUEVA and
EPIFANIO VILLANUEVA, were also involved in the fraudulent scheme
and had received payments as a result of their participation in
the scheme. In September 2005, FBI Special Agent Paul Fracassini
met with CWl and he/she confirmed the operation of the scheme and
the participation of the defendants ROBERT. VILLANUEVA and
EPIFANIO VILLANUEVA.

The Fraudulent Scheme

4, CW1l stated, in sum and in substance, that he/she
created false claim paperwork for fictitious claimants and
provided this false paperwork to the accounts payable department
of Starrett City. Specifically, CWl explained, in sum and in
substance, that he/she typically created the false paperwork by
photocopying and altering authentic documents that had previously
been submitted for legitimate claims. Based on the false

paperwork prepared by CWl1, Starrett City issued settlement checks
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to the fictitious claimants and provided these checks to CWl for
delivery to the supposed claimants.

5. CW1l stated, in sum and in substance, that he/she
negotiated the settlement checks that he/she received as part of
the scheme in several different ways. CW1l stated, in sum and in
substance, that in some cases he/she deposited the checks into
his/her own bank account by double-endorsing the checks, i.e.,
forging the supposed claimant’s signature and signing CWl1’s own
name on the back of the check immediately below the supposed
claimant. CWl also stated, in sum and in substance, that in some
cases he/she personally cashed the settlement checks by double-
endorsing them, as described in the previous sentence, but asking
the bank teller to give him/her cash rather than depositing the
check into his/her account.

The Roles of Defendants
Robert Villanueva and Epifano Villanueva in the Fraudulent Scheme

6. CW1 also admitted that, in or about and between
2001 and 2004, CWl submitted fraudulent claims in the names of
real people who were not legitimate claimants. CW1 stated, in
sum and in substance, that the names of those people were often
supplied to CWl by the defendants ROBERT VILLANUEVA and EPIFANIO
VILLANUEVA. CW1l would process fraudulent claims in the names of
those people using the same method as described above, except
that once a settlement check was issued in the fraudulent

claimant’s name, CWl gave or mailed the check to the defendants
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ROBERT VILLANUEVA and EPIFANIO VILLANUEVA. The defendants ROBERT
VILLANUEVA and EPIFANIO VILLANUEVA then would give the settlement
check to the named claimant, who in turn would endorse and
deposit the check. Once the check cleared, the claimant would
remit a majority of the proceeds of the settlement check to CWl,
defendant ROBERT VILLANUEVA and defendant EPIFANIO VILLANUEVA,
while keeping a small portion of the settlement check as payment
for providing a bank account and name.

7. In or about August 2006, I interviewed cooperating
witness 2 (“CW2”). CW2 stated, in sum and in substance, that
defendant ROBERT VILLANUEVA approached him/her with a money-
making proposition. CW2 stated, in sum and in substance, that
defendant ROBERT VILLANUEVA instructed CW2 to open a bank
account, sign several blank starter checks, and then give the
signed blank checks and other bank account information to the
defendant ROBERT VILLANUEVA. CW2 stated, in sum and in
substance, that he/she agreed to the plan and did as the
defendant ROBERT VILLANUEVA instructed. CW2 stated, in sum and
in substance, that the defendant ROBERT VILLANUEVA subsequently
brought him/her a Starrett City settlement check that was made
payable to CW2 and instructed him/her to endorse the back of that
check. CW2 stated, in sum and in substance, that he/she again

did as the defendant ROBERT VILLANUEVA instructed and that he/she
was paid approximately $1,000 for his/her participation in this
plan.

8. CW2’'s statements are corroborated by banking
records. Banking records show that in or about July 2003, a
$30,000 settlement check issued by Starrett City and made payable
to CW2 was deposited into CW2’s bank account, which had just
recently been opened. Based on my training, experience and
knowledge of the investigation, I believe this was the settlement
check that defendant ROBERT VILLANUEVA provided to CW2 and that
CW2 endorsed. Records also show that, several days after this
Starrett City check was deposited into CW2’s bank account,
approximately six checks signed by CW2 and made payable either to
CW1, defendant ROBERT VILLANUEVA or defendant EPIFANIO VILLANUEVA
were disbursed by CW2’s bank. Records show that, through these
six checks, CW2’s bank disbursed approximately $10,500 to CWl,
approximately $7,000 to defendant ROBERT VILLANUEVA, and
approximately $11,000 to defendant EPIFANIO VILLANUEVA. These
six checks corroborate CW2’s statements that he/she provided
signed blank starter checks to defendant ROBERT VILLANUEVA after
he/she opened the bank account.

9. CW2 stated, in sum and in substance, that
defendant ROBERT VILLANUEVA later told him/her that he/she could
make additional money by recruiting others to similarly open bank

accounts. CW2 stated, in sum and in substance, that he/she then
recruited three other individuals, specifically Co-conspirators
A, B, and C (respectively “CCA,”“CCB” and “CCC”), to similarly
open bank accounts and turn over signed blank starter checks and
other account information. CW2 stated, in sum and in substance,
that he/she was paid for every individual he/she recruited.

10. Again, banking records corroborate CW2’s
statements. Banking records for accounts in the names of CCA,
CCB, and CCC show a movement of funds similar to that of CW2’s
bank account. Specifically, a Starrett City settlement check is
deposited into an account and then several checks payable to CWl,
defendant ROBERT VILLANUEVA and defendant EPIFANIO VILLANUEVA --
totaling almost the entire amount of the settlement check -- are
drawn on that account. In addition, one check payable to CW2 is
drawn on the account for a sum much less than that disbursed to
CW1, defendant ROBERT VILLANUEVA and defendant EPIFANIO
VILLANUEVA, corroborating CW2’s statement that he/she recruited
CCA, CCB, and CCC.

11. Banking records show that in or about January
2004, a $25,000 check issued by Starrett City and made payable to
CCA was deposited into CCA’s bank account. Records also show
that, several days after this Starrett City check was deposited
into CCA's bank account, approximately five checks signed by CCA
and made payable to CWl1, CW2, defendant ROBERT VILLANUEVA and

defendant EPIFANIO VILLANUEVA were disbursed by CCA’s bank.
Records show that, through these five checks, CCA’s bank
disbursed approximately $7,500 to CW1, approximately $1,500 to
CW2, approximately $7,500 to defendant ROBERT VILLANUEVA, and
approximately $7,500 to defendant EPIFANIO VILLANUEVA.

12. Banking records show that in or about March 2004,
a $45,000 check issued by Starrett City and made payable to CCB
was deposited into CCB’s bank account. Records also show that,
several days after this Starrett City check was deposited into
CCB’s bank account, approximately eight checks signed by CCB and
made payable to CW1, CW2, defendant ROBERT VILLANUEVA and
defendant EPIFANIO VILLANUEVA were disbursed by CCB’s bank.
Records show that, through these eight checks, CCB’s bank
disbursed approximately $15,000 to CW1, approximately $2,000 to
CW2, approximately $11,200 to defendant ROBERT VILLANUEVA, and
approximately $15,000 to defendant EPIFANIO VILLANUEVA.

13. Banking records show that in or about April 2004,
a $50,000 check issued by Starrett City and made payable to CCC
was deposited into CCC’s bank account. Records also show that,
several days after this Starrett City check was deposited into
ccc’s bank account, approximately seven checks signed by CCC and
made payable to CW1, CW2, defendant ROBERT VILLANUEVA and
defendant EPIFANIO VILLANUEVA were disbursed by CCC's bank.
Records show that, through these seven checks, CCB’s bank

disbursed approximately $17,000 to CW1l, approximately $5,000 to
CW2, approximately $10,000 to defendant ROBERT VILLANUEVA, and
approximately $17,000 to defendant EPIFANIO VILLANUEVA.?2

14. In or about February 2006, Special Agent
Fracassini interviewed cooperating witness 3 (“CW3”). CW3
stated, in sum and in substance, that the defendant EPIFANIO
VILLANUEVA had approached him/her with a plan that would enable
him/her to make $10,000 by depositing checks. CW3 stated, in sum
and in substance, that in accordance with this plan, he/she
opened a bank account. CW3 stated, in sum and in substance, that
the defendant EPIFANIO VILLANUEVA then gave CW3 a Starrett City
check for $45,000 made payable to CW3, which he/she endorsed and
deposited in his/her account. CW3 stated, in sum and in
substance that, he/she later wrote several checks made payable to
CW1l and the defendant EPIFANIO VILLANUEVA.

15. Banking records corroborate CW3’s statements.
Banking records show that in or about August 2003, a $45,000
check issued by Starrett City and made payable to CW3 was
deposited into CW3’s bank account. Records also show that,
several days after this Starrett City check was deposited into
CW3’s bank account, approximately six checks signed by CW3 and
made payable to CWl and defendant EPIFANIO VILLANUEVA were

disbursed by CW3’s bank. Records show that, through these six

2/ One of the checks was made payable to VBIG Inc., which is a
company that is owned or controlled by defendant ROBERT
VILLANUEVA.
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checks, CW3’s bank disbursed approximately $17,000 to CWl and
approximately $18,000 to defendant EPIFANIO VILLANUEVA.

16. A review of bank records shows that, between April
2003 and May 2004, at least 15 other settlement claim checks were
issued by Starrett City where the check was deposited into a bank
account and ~-- similar to CW2, CW3, CCA, CCB, and CCC -- shortly
thereafter, the account holder wrote checks payable to CWl,
defendant ROBERT VILLANUEVA and defendant EPIFANIO VILLANUEVA.
The sum of the checks made payable to CW1, defendant ROBERT
VILLANUEVA and defendant EPIFANIO VILLANUEVA was almost equal to
the amount of the deposited Starrett City checks.?

WHEREFORE, your deponent respectfully requests that
arrest warrants be issued for the defendants ROBERT VILLANUEVA

and EPIFANIO VILLANUEVA so that they may be dealt with according

to law. Zoe to

Marcus Wilson
Special Agent
Federal Bureau of Investigation

Sworn to before me this
day of April, 2007

Haws 1) AyyA—

UNITED STATES MAGIS#RATE JUDGE
EASTERN DISTRICT OF NEW YORK

3/ In many instances, there were substantial cash withdrawals
following the deposit of a fraudulent check. I believe based on
Iy experience and training, that the cash was likely given to CWl
and/or the defendants ROBERT VILLANUEVA or EPIFANIO VILLANUEVA.
